Case 1:21-cv-00445-CJN Document 87-5 Filed 12/01/21 Page 1 of 58




    EXHIBIT
Case 1:21-cv-00445-CJN Document 87-5 Filed 12/01/21 Page 2 of 58
Case 1:21-cv-00445-CJN Document 87-5 Filed 12/01/21 Page 3 of 58
Case 1:21-cv-00445-CJN Document 87-5 Filed 12/01/21 Page 4 of 58
Case 1:21-cv-00445-CJN Document 87-5 Filed 12/01/21 Page 5 of 58
Case 1:21-cv-00445-CJN Document 87-5 Filed 12/01/21 Page 6 of 58
Case 1:21-cv-00445-CJN Document 87-5 Filed 12/01/21 Page 7 of 58
Case 1:21-cv-00445-CJN Document 87-5 Filed 12/01/21 Page 8 of 58
Case 1:21-cv-00445-CJN Document 87-5 Filed 12/01/21 Page 9 of 58
Case 1:21-cv-00445-CJN Document 87-5 Filed 12/01/21 Page 10 of 58
Case 1:21-cv-00445-CJN Document 87-5 Filed 12/01/21 Page 11 of 58
Case 1:21-cv-00445-CJN Document 87-5 Filed 12/01/21 Page 12 of 58
Case 1:21-cv-00445-CJN Document 87-5 Filed 12/01/21 Page 13 of 58
Case 1:21-cv-00445-CJN Document 87-5 Filed 12/01/21 Page 14 of 58
Case 1:21-cv-00445-CJN Document 87-5 Filed 12/01/21 Page 15 of 58
Case 1:21-cv-00445-CJN Document 87-5 Filed 12/01/21 Page 16 of 58
Case 1:21-cv-00445-CJN Document 87-5 Filed 12/01/21 Page 17 of 58
Case 1:21-cv-00445-CJN Document 87-5 Filed 12/01/21 Page 18 of 58
Case 1:21-cv-00445-CJN Document 87-5 Filed 12/01/21 Page 19 of 58
Case 1:21-cv-00445-CJN Document 87-5 Filed 12/01/21 Page 20 of 58
Case 1:21-cv-00445-CJN Document 87-5 Filed 12/01/21 Page 21 of 58
Case 1:21-cv-00445-CJN Document 87-5 Filed 12/01/21 Page 22 of 58
Case 1:21-cv-00445-CJN Document 87-5 Filed 12/01/21 Page 23 of 58
Case 1:21-cv-00445-CJN Document 87-5 Filed 12/01/21 Page 24 of 58
Case 1:21-cv-00445-CJN Document 87-5 Filed 12/01/21 Page 25 of 58
Case 1:21-cv-00445-CJN Document 87-5 Filed 12/01/21 Page 26 of 58
Case 1:21-cv-00445-CJN Document 87-5 Filed 12/01/21 Page 27 of 58
Case 1:21-cv-00445-CJN Document 87-5 Filed 12/01/21 Page 28 of 58
Case 1:21-cv-00445-CJN Document 87-5 Filed 12/01/21 Page 29 of 58
Case 1:21-cv-00445-CJN Document 87-5 Filed 12/01/21 Page 30 of 58
Case 1:21-cv-00445-CJN Document 87-5 Filed 12/01/21 Page 31 of 58
Case 1:21-cv-00445-CJN Document 87-5 Filed 12/01/21 Page 32 of 58
Case 1:21-cv-00445-CJN Document 87-5 Filed 12/01/21 Page 33 of 58
Case 1:21-cv-00445-CJN Document 87-5 Filed 12/01/21 Page 34 of 58
Case 1:21-cv-00445-CJN Document 87-5 Filed 12/01/21 Page 35 of 58
Case 1:21-cv-00445-CJN Document 87-5 Filed 12/01/21 Page 36 of 58
Case 1:21-cv-00445-CJN Document 87-5 Filed 12/01/21 Page 37 of 58
Case 1:21-cv-00445-CJN Document 87-5 Filed 12/01/21 Page 38 of 58
Case 1:21-cv-00445-CJN Document 87-5 Filed 12/01/21 Page 39 of 58
Case 1:21-cv-00445-CJN Document 87-5 Filed 12/01/21 Page 40 of 58
Case 1:21-cv-00445-CJN Document 87-5 Filed 12/01/21 Page 41 of 58
Case 1:21-cv-00445-CJN Document 87-5 Filed 12/01/21 Page 42 of 58
Case 1:21-cv-00445-CJN Document 87-5 Filed 12/01/21 Page 43 of 58
Case 1:21-cv-00445-CJN Document 87-5 Filed 12/01/21 Page 44 of 58
Case 1:21-cv-00445-CJN Document 87-5 Filed 12/01/21 Page 45 of 58
Case 1:21-cv-00445-CJN Document 87-5 Filed 12/01/21 Page 46 of 58
Case 1:21-cv-00445-CJN Document 87-5 Filed 12/01/21 Page 47 of 58
Case 1:21-cv-00445-CJN Document 87-5 Filed 12/01/21 Page 48 of 58
Case 1:21-cv-00445-CJN Document 87-5 Filed 12/01/21 Page 49 of 58
Case 1:21-cv-00445-CJN Document 87-5 Filed 12/01/21 Page 50 of 58
Case 1:21-cv-00445-CJN Document 87-5 Filed 12/01/21 Page 51 of 58
Case 1:21-cv-00445-CJN Document 87-5 Filed 12/01/21 Page 52 of 58
Case 1:21-cv-00445-CJN Document 87-5 Filed 12/01/21 Page 53 of 58
Case 1:21-cv-00445-CJN Document 87-5 Filed 12/01/21 Page 54 of 58
Case 1:21-cv-00445-CJN Document 87-5 Filed 12/01/21 Page 55 of 58
Case 1:21-cv-00445-CJN Document 87-5 Filed 12/01/21 Page 56 of 58
Case 1:21-cv-00445-CJN Document 87-5 Filed 12/01/21 Page 57 of 58
Case 1:21-cv-00445-CJN Document 87-5 Filed 12/01/21 Page 58 of 58
